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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                        )
 IN RE BLUE APRON HOLDINGS, INC.        ) No. 17-cv-04846-NGG-PK
 SECURITIES LITIGATION                  )
                                        )
                                        ) This Document Relates To: ALL ACTIONS


                        ORDER AND FINAL JUDGMENT
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         On the ____ day of ____________, 2021, a hearing having been held before this Court to

 determine: (1) whether the terms and conditions of the Amended Stipulation of Settlement dated

 November 12, 2020 (“Settlement Stipulation”) are fair, reasonable, and adequate for the

 settlement of all claims asserted by Plaintiffs and the Settlement Class against Defendants (as

 defined in the Stipulation), including the release of the Released Claims against the Released

 Parties, and should be approved; (2) whether judgment should be entered dismissing the Action

 with prejudice; (3) whether to approve the proposed Plan of Allocation as a fair and reasonable

 method to allocate the Net Settlement Fund among the Settlement Class Members; (4) whether

 and in what amount to award Plaintiffs’ Counsel fees and reimbursement of expenses; and (5)

 whether and in what amount to award Plaintiffs an incentive award; and

         The Court having considered all matters submitted to it at the hearing and otherwise; and

         It appearing in the record that the Notice substantially in the form approved by the Court

 in the Court’s Order Granting Lead Plaintiffs’ Motion for Preliminary Approval of Class Action

 Settlement, dated February 1, 2021 (“Preliminary Approval Order”) was mailed to all reasonably

 identifiable Settlement Class Members and posted to the website of the Claims Administrator,

 both in accordance with the Preliminary Approval Order and the specifications of the Court; and

         It appearing in the record that the Summary Notice substantially in the form approved by

 the Court in the Preliminary Approval Order was published in accordance with the Preliminary

 Approval Order and the specifications of the Court;

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

 THAT:




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         1.       This Order and Final Judgment incorporates by reference the definitions in the

 Settlement Stipulation, and all capitalized terms used herein shall have the same meanings as set

 forth therein.

         2.       The Court has jurisdiction over the subject matter of the Action, Plaintiffs, all

 Settlement Class Members, and Defendants.

         3.       The Court finds that, for settlement purposes only, the prerequisites for a class

 action under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been satisfied in

 that:

                  (a)      the number of Settlement Class Members is so numerous that joinder of all

 members thereof is impracticable;

                  (b)      there are questions of law and fact common to the Settlement Class;

                  (c)      the claims of the Plaintiffs are typical of the claims of the Settlement Class

 they seek to represent;

                  (d)      Plaintiffs and Plaintiffs’ Counsel fairly and adequately represent the

 interests of the Settlement Class;

                  (e)      questions of law and fact common to the members of the Settlement Class

 predominate over any questions affecting only individual members of the Settlement Class; and

                  (f)      a class action is superior to other available methods for the fair and

 efficient adjudication of this Action, considering:

                           i.     the interests of the Settlement Class Members in individually

 controlling the prosecution of the separate actions;

                           ii.    the extent and nature of any litigation concerning the controversy

 already commenced by Settlement Class Members;



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                        iii.    the desirability or undesirability of concentrating the litigation of

 these claims in this particular forum; and

                        iv.     the difficulties likely to be encountered in the management of the

 class action.

 The Settlement Class is being certified for settlement purposes only.

        4.       The Court hereby finally certifies this action as a class action for purposes of the

 Settlement, pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf

 of all Persons (including, without limitation, their beneficiaries) who purchased or acquired Blue

 Apron Holdings, Inc. (“Blue Apron”) Class A Common Stock during the period from June 29,

 2017, through August 25, 2017, both dates inclusive (“Settlement Class Period”), except

 excluded from the Settlement Class are all: (i) Defendants, current and former officers and

 directors of Blue Apron; (ii) the Blue Apron IPO underwriters and their subsidiaries, provided,

 however, that any Investment Vehicle should not be excluded from the class; (iii) beneficiaries

 and participants in Blue Apron’s employee retirement or benefit plan(s) to the extent they

 purchased Blue Apron Common Stock through any such plan(s); (iv) any entity in which

 Defendants have or had a controlling interest; (v) immediate family members of any excluded

 Person; (vi) the legal representatives, heirs, successors, or assigns of any Person excluded; and

 (vii) Persons who have no compensable damages.

        5.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, for the purposes of

 this Settlement only, Plaintiffs are certified as the class representatives on behalf of the

 Settlement Class (“Class Representatives”) and Lead Counsel previously selected by Plaintiffs

 and appointed by the Court are hereby appointed as Class Counsel for the Settlement Class

 (“Class Counsel”).



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        6.      In accordance with the Court’s Preliminary Approval Order, the Court hereby

 finds that the forms and methods of notifying the Settlement Class of the Settlement and its terms

 and conditions met the requirements of due process, Rule 23 of the Federal Rules of Civil

 Procedure, and 15 U.S.C. § 77z-1(a)(7); constituted the best notice practicable under the

 circumstances; and constituted due and sufficient notice of these proceedings and the matters set

 forth herein, including the Settlement and Plan of Allocation, to all persons and entities entitled

 to such notice. No Settlement Class Member is relieved from the terms and conditions of the

 Settlement, including the releases provided for in the Settlement Stipulation, based upon the

 contention or proof that such Settlement Class Member failed to receive actual or adequate

 notice. A full opportunity has been offered to the Settlement Class Members to object to the

 proposed Settlement and to participate in the hearing thereon. The Court further finds that the

 notice provisions of the Class Action Fairness Act, 28 U.S.C. § 1715, were fully discharged.

 Thus, it is hereby determined that all Settlement Class Members are bound by this Order and

 Final Judgment except those persons listed on Exhibit A to this Order and Final Judgment.

        7.      The Settlement is approved as fair, reasonable, and adequate under Rule 23 of the

 Federal Rules of Civil Procedure, and in the best interests of the Settlement Class. This Court

 further finds that the Settlement set forth in the Settlement Stipulation is the result of good faith,

 arm’s-length negotiations between experienced counsel representing the interests of the Class

 Representatives, Settlement Class Members, and Defendants. The Settling Parties are directed to

 consummate the Settlement in accordance with the terms and provisions of the Settlement

 Stipulation.




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        8.      The Action and all claims contained therein, as well as all of the Released Claims,

 are dismissed with prejudice as against Defendants and the Released Parties. The Settling Parties

 are to bear their own costs, except as otherwise provided in the Settlement Stipulation.

        9.      The Releasing Parties, on behalf of themselves, their successors and assigns, and

 any other Person claiming (now or in the future) through or on behalf of them, regardless of

 whether any such Releasing Party ever seeks or obtains by any means, including without

 limitation by submitting a Proof of Claim and Release Form, any disbursement from the

 Settlement Fund, shall be deemed to have, and by operation of this Order and Final Judgment

 shall have, fully, finally, and forever released, relinquished, and discharged all Released Claims

 against the Released Parties. The Releasing Parties shall be deemed to have, and by operation of

 this Order and Final Judgment shall have, covenanted not to sue the Released Parties with

 respect to any and all Released Claims in any forum and in any capacity. The Releasing Parties

 shall be and hereby are permanently barred and enjoined from asserting, commencing,

 prosecuting, instituting, assisting, instigating, or in any way participating in the commencement

 or prosecution of any action or other proceeding, in any forum, asserting any Released Claim, in

 any capacity, against any of the Released Parties. Nothing contained herein shall be understood

 to release any shareholder derivative claims on behalf of Blue Apron, although such claims may

 be covered or otherwise extinguished by the Contribution Bar Order contained in Paragraph 10.

 Moreover, nothing contained herein shall bar Releasing Parties from bringing any action or claim

 to enforce the terms of the Settlement Stipulation or this Order and Final Judgment.

        10.     To the fullest extent permitted by law, all Persons shall be permanently enjoined,

 barred, and restrained from bringing, commencing, prosecuting, or asserting any claims, actions,

 or causes of action for contribution, indemnity, or otherwise against any of the Released Parties



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 seeking as damages or otherwise the recovery of all or any part of any liability, judgment, or

 settlement which they pay, are obligated to pay, agree to pay, or that are paid on their behalf to

 the Settlement Class or any Settlement Class Member arising out of, relating to or concerning

 any acts, facts, statements, or omissions that were or could have been alleged in the Action,

 whether arising under state, federal, or foreign law as claims, cross-claims, counterclaims, third-

 party claims, or otherwise, in the Court or any other federal, state, or foreign court, or in any

 arbitration proceeding, administrative agency proceeding, tribunal, or any other proceeding or

 forum. For avoidance of doubt, the foregoing language bars the claims for contribution under

 Section 11 of the Securities Act asserted in the action captioned Peters v. Salzberg, No. 1:20-cv-

 02627-ERK (E.D.N.Y.). Further, nothing in the Settlement Stipulation or this Order and Final

 Judgment shall apply to bar or otherwise affect any claim for insurance coverage by any

 Defendant.

        11.     The Court hereby finds that the proposed Plan of Allocation is a fair and

 reasonable method to allocate the Net Settlement Fund among Settlement Class Members, and

 Class Counsel and the Claims Administrator are directed to administer the Plan of Allocation in

 accordance with its terms and the terms of the Stipulation.

        12.     Plaintiffs’ Counsel is awarded attorneys’ fees in the amount of $3,312,500.00, and

 expenses in the amount of $60,796.01, plus any applicable interest, such as amounts to be paid

 out of the Settlement Fund immediately following entry of this Order. Lead Counsel shall

 thereafter be solely responsible for allocating the attorneys’ fees and expenses among other

 Plaintiffs’ Counsel in the manner in which Lead Counsel in good faith believe reflects the

 contributions of such counsel to the initiation, prosecution, and resolution of the Action.




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        13.     Lead Plaintiffs are awarded $40,000.00 in total, or $10,000.00 each, as a

 compensatory award for their service to the Class and for reasonable costs and expenses directly

 relating to the representation of the Settlement Class as provided in 15 U.S.C. §78u-4(a)(4), such

 amounts to be paid from the Settlement Fund upon the Effective Date of the Settlement.

        14.     The Court finds that the Settling Parties and their counsel have complied with all

 requirements of Rule 11 of the Federal Rules of Civil Procedure and the Private Securities

 Litigation Record Act of 1995 as to all proceedings herein.

        15.     Neither this Order and Final Judgment, the Stipulation (nor the Settlement

 contained therein), nor any of its terms and provisions, nor any of the negotiations, documents,

 or proceedings connected with them:

                (a)     is or may be deemed to be, or may be used as an admission, concession, or

 evidence of, the validity or invalidity of any Released Claims, the truth or falsity of any fact

 alleged by the Class Representatives, the sufficiency or deficiency of any defense that has been

 or could have been asserted in the Action, or of any wrongdoing, liability, negligence, or fault of

 Defendants, the Released Parties, or each or any of them;

                (b)     is or may be deemed to be or may be used as an admission of, or evidence

 of, any fault or misrepresentation or omission with respect to any statement or written document

 attributed to, approved or made by Defendants or Released Parties in any civil, criminal, or

 administrative proceeding in any court, administrative agency, or other tribunal;

                (c)     is or may be deemed to be or shall be used, offered, or received against the

 Settling Parties, Defendants, or the Released Parties, or each or any of them, as an admission,

 concession, or evidence of the validity or invalidity of the Released Claims, the infirmity or

 strength of any claim raised in the Action, the truth or falsity of any fact alleged by Plaintiffs or



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 the Settlement Class, or the availability or lack of availability of meritorious defenses to the

 claims raised in the Action;

                (d)     is or may be deemed to be or shall be construed as or received in evidence

 as an admission or concession against Defendants, or the Released Parties, or each or any of

 them, that any of Class Representatives’ or Settlement Class Members’ claims are with or

 without merit, that a litigation class should or should not be certified, that damages recoverable

 in the Action would have been greater or less than the Settlement Fund or that the consideration

 to be given pursuant to the Settlement Stipulation represents an amount equal to, less than or

 greater than the amount which could have or would have been recovered after trial.

        16.     The Released Parties may file the Stipulation and/or this Order and Final

 Judgment in any other action that may be brought against them in order to support a defense or

 counterclaim based on principles of res judicata, collateral estoppel, full faith and credit, release,

 good faith settlement, judgment bar or reduction or any other theory of claim preclusion or issue

 preclusion or similar defense or counterclaim. The Settling Parties may file the Stipulation and/or

 this Order and Final Judgment in any proceedings that may be necessary to consummate or

 enforce the Stipulation, the Settlement, or this Order and Final Judgment.

        17.     Except as otherwise provided herein or in the Stipulation, all funds held by the

 Escrow Agent shall be deemed to be in custodia legis and shall remain subject to the jurisdiction

 of the Court until such time as the funds are distributed or returned pursuant to the Stipulation

 and/or further order of the Court.

        18.     Without affecting the finality of this Order and Judgment in any way, this Court

 hereby retains continuing exclusive jurisdiction over the Settling Parties and the Settlement Class

 Members for all matters relating to the Action, including the administration, interpretation,



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  effectuation or enforcement of the Stipulation and this Order and Final Judgment, and including

  any application for fees and expenses incurred in connection with administering and distributing

  the Settlement proceeds to the Settlement Class Members.

         19.     Without further order of the Court, Defendants and Class Representatives may

  agree to reasonable extensions of time to carry out any of the provisions of the Stipulation.

         20.     There is no just reason for delay in the entry of this Order and Final Judgment and

  immediate entry by the Clerk of the Court is expressly directed pursuant to Rule 54(b) of the

  Federal Rules of Civil Procedure.

         21.     The finality of this Order and Final Judgment shall not be affected, in any manner,

  by rulings that the Court may make on Class Counsels’ application for an award of attorneys’

  fees and expenses or an award to the Class Representatives.

         22.     In the event the Settlement is not consummated in accordance with the terms of

  the Stipulation, then the Stipulation and this Order and Final Judgment (including any

  amendment(s) thereof, and except as expressly provided in the Stipulation or by order of the

  Court) shall be null and void, of no further force or effect, and without prejudice to any Settling

  Party, and may not be introduced as evidence or used in any action or proceeding by any Person

  against the Settling Parties or the Released Parties, and each Settling Party shall be restored to

  his, her or its respective litigation positions as they existed prior to August 14, 2020, pursuant to

  the terms of the Stipulation.



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  Dated: ___________, 2021                              ______________________________
                                                        HON. NICHOLAS G. GARAUFIS
                                                        UNITED STATES DISTRICT JUDGE




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                                       EXHIBIT A

                        Persons excluded from the Settlement Class

     1. Cathy Kennedy




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